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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:17-CR-00039-DAD-BAM
11
                                  Plaintiff,
12
                            v.                           STIPULATION REGARDING DISCLOSURE
13                                                       OF SENSITIVE MATERIAL; ORDER
     TRAVIS MCGUIRE,
14   JESSE MONTANEZ,

15                                Defendant.

16

17          Plaintiff United States of America, by and through its counsel of record, the Acting United States

18 Attorney for the Eastern District of California, and defendants TRAVIS MCGUIRE and JESSE

19 MONTANEZ (“defendants”), by and through their counsel of record, Megan Hopkins and Harry

20 Drandell, respectively, hereby file this Stipulation Regarding Disclosure of Sensitive Materials.

21          1.      The government possesses, or may come to possess, recordings, photographs, documents,

22 reports, or other materials the disclosure of which may ordinarily be required by the government’s Rule

23 16, Jencks Act, Brady or other discovery obligations, but the dissemination of which could pose a

24 serious risk to prison security, certain defendants, witnesses, or the confidentiality of an ongoing

25 investigation (the “Sensitive Materials”).

26          2.      The government will mark all Sensitive Materials with the following stamp or

27 inscription: “ATTORNEYS EYES ONLY”

28          3.      If the government distributes any document, compact disk, or other material bearing the



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 1 above label, defense counsel and defendants agree to the following as to such material:

 2                  a.     Defense counsel shall not distribute Sensitive Materials to anyone other than his

 3 or her own legal staff (including paralegal assistants, legal secretaries, defense investigators, and lawyer-

 4 associates);

 5                  b.     Defense counsel shall not allow anyone other than himself or herself, or his or her

 6 legal staff to possess, or maintain possession of, any Sensitive Materials;

 7                  c.     Defendants shall not have access to the sensitive materials.

 8                  d.     Defense counsel may not disclose the contents of any Sensitive Materials

 9 publicly, including in any court filing, without first conferring with government counsel and, in any

10 event, shall file any Sensitive Materials under seal.

11          4.      The parties agree to confer before filing any motions regarding the government's

12 disclosure (or lack of disclosure) of Sensitive Materials.

13          5.      Should defense counsel disagree with the classification of any item of discovery as

14 "Sensitive Materials" for "Attorneys Eyes Only," the parties agree to confer as to the necessity of such

15 classification and protection for the specified item. Any unresolved dispute as to the classification of

16 materials shall be brought before the court by motion, and until the court has ruled on the motion the

17 parties agree to abide by the government's classification of the item pursuant to this protective order.

18          6.      Accordingly, the parties respectfully request that the Court adopt, and agree to be bound

19 by, the corresponding protective order.

20          7.      By signing this stipulation, the parties agree to be bound by the above terms, and those of

21 the accompanying proposed order, before and after the Court executes and enters that order.

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 1          8.     By signing this stipulation, counsel for defendant represents that he has discussed the

 2 contents of this stipulation and proposed order with defendant, and that defendant has no objection to

 3 this stipulation and the relief requested in the proposed order.

 4

 5 Dated: October 9, 2017                                  PHILLIP A. TALBERT
                                                           United States Attorney
 6

 7                                                   By: /s/ VINCENZA RABENN
                                                         VINCENZA RABENN
 8                                                       Assistant United States Attorney
 9

10 Dated: 10/9/17                                         __/s/ Megan Hopkins______________
                                                          MEGAN HOPKINS
11                                                        Attorney for Defendant
12

13

14 Dated: 10/9/17                                         __/s/ Harry Drandell_______________
                                                          HARRY DRANDELL
15                                                        Attorney for Defendant
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 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:17-CR-00039-DAD-BAM

12                                 Plaintiff,
                                                         [PROPOSED] ORDER REGARDING
13                          v.                           GOVERNMENT'S DISCLOSURE OF SENSITIVE
                                                         MATERIALS
14   TRAVIS MCGUIRE
     JESSE MONTANEZ,
15
                                  Defendant.
16

17

18          The Court has received and considered the jointly-filed Stipulation Regarding Disclosure of

19 Sensitive Materials and Personal Identifying Information between Plaintiff United States of America, by

20 and through its counsel of record, the Acting United States Attorney for the Eastern District of

21 California, and defendants TRAVIS MCGUIRE and JESSE MONTANEZ by and through their counsel

22 of record, Megan Hopkins and Harry Drandell, respectively.

23          Good cause showing, IT IS HEREBY ORDERED THAT:

24          1.      The government will identify the discovery materials in this case the disclosure of which

25 could jeopardize prison security, or the safety of witnesses or other persons, or affect the confidentiality

26 of ongoing investigations (the “Sensitive Materials”).
27          2.      The government will mark all Sensitive Materials with the following stamp or

28 inscription: “ATTORNEYS EYES ONLY”



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 1          3.      If the government distributes any document, compact disk, or other material bearing the

 2 above label, defense counsel and defendant agree to the following as to such material:

 3                  a.     Defense counsel shall not distribute Sensitive Materials to anyone other than his

 4 or her own legal staff (including paralegal assistants, legal secretaries, defense investigators, and lawyer-

 5 associates);

 6                  b.     Defense counsel shall not allow anyone other than himself/herself and his or her

 7 legal staff to possess, or maintain possession of, any Sensitive Materials;

 8                  c.     Defendants shall not have access to the sensitive materials;

 9                  d.     Defense counsel may not disclose the contents of any Sensitive Materials

10 publicly, including in any court filing, without first meeting and conferring with government counsel,

11 and, in any event, shall file any Sensitive Materials under seal.

12          4.      The parties must confer before filing any motions regarding the government's disclosure

13 (or lack of disclosure) of Sensitive Materials.

14          5.      Should defense counsel disagree with the classification of any item of discovery as

15 "Sensitive Materials" for "Attorneys Eyes Only," the parties shall confer as to the necessity of such

16 classification and protection for the specified item. Any unresolved dispute as to the classification of

17 materials shall be brought before the court by motion, and until the court has ruled on the motion the

18 parties agree to abide by the government's classification of the item pursuant to this protective order.

19          6.      At the conclusion of this matter, defense counsel will collect and destroy any and all

20 copies of documents and portions thereof marked as “Attorneys Eyes Only” that defense counsel

21 possesses and/or has made and distributed to their agents, except a copy set as necessary to maintain in

22 defense counsel’s case file.

23
     IT IS SO ORDERED.
24

25      Dated:     October 30, 2017                           /s/ Barbara A. McAuliffe              _
                                                       UNITED STATES MAGISTRATE JUDGE
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